Case 1:22-cv-00397-LEK-KJM Document 200 Filed 11/27/23 Page 1 of 5 PageID.6620



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Case 1:22-cv-00397-LEK-KJM Document 200 Filed 11/27/23 Page 2 of 5 PageID.6621



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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF HAWAII

  PATRICK FEINDT, JR., et al.                     CIVIL NO. 1:22-cv-397-LEK-KJM

               Plaintiffs,

                       vs.                        SECOND JOINT STIPULATION
                                                  AS TO PLAINTIFFS’ NUISANCE
  THE UNITED STATES OF AMERICA,                   AND NEGLIGENCE CLAIMS;
                                                  ORDER
               Defendant.




              SECOND JOINT STIPULATION AS TO PLAINTIFFS’
                  NUISANCE AND NEGLIGENCE CLAIMS

       The parties hereby stipulate to the following to avoid unnecessary discovery

 and promote early resolution or, if necessary, trial efficiency in this matter (see

 Fed. R. Civ. P. 1):

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Case 1:22-cv-00397-LEK-KJM Document 200 Filed 11/27/23 Page 3 of 5 PageID.6622



    1. The United States admits that the November 20, 2021 spill at the Red Hill

 Bulk Fuel Storage Facility (Red Hill) caused a nuisance for those Plaintiffs who

 owned or leased residences subject to the Hawaii Department of Health’s

 November 29, 2021 advisory (hereinafter, “Resident Plaintiffs”) and this nuisance

 lasted for as long as this advisory was in effect for each Resident Plaintiff’s

 residence.

    2. The United States admits that, between May 6, 2021, and November 20,

 2021, the United States breached its duty of care to the Resident Plaintiffs to

 exercise ordinary care in the operation of Red Hill, resulting in the May 6, 2021

 and November 20, 2021 spills.

    3. The United States admits that, as a result of the aforementioned nuisance or

 breach, Resident Plaintiffs suffered injuries compensable under the Federal Tort

 Claims Act (FTCA). The nature and extent of these injuries will be the subject of

 further discovery.

    4. For purposes of this stipulation, the term “United States” includes individual

 officers or employees, as well as third-party contractors with whom the United

 States contracted for products or services. Stipulating to facts or conclusions about

 conduct by “the United States” does not include stipulating to which specific

 individual(s) or entit(y/ies) was responsible for acting or failing to act on behalf of




                                            3
Case 1:22-cv-00397-LEK-KJM Document 200 Filed 11/27/23 Page 4 of 5 PageID.6623



 the United States. As provided below, any potential claims against such

 individuals or entities are reserved by the United States.

    5. The parties agree that nothing in this Joint Stipulation is intended to waive in

 this case or in any other case the United States’ (a) right to contest causation and

 damages with respect to Resident Plaintiffs’ negligence or nuisance claims

 addressed in Paragraphs 1 and 2 above; (b) other defenses, including its right to

 contest all elements of Resident Plaintiffs’ claims not addressed in Paragraphs 1

 and 2 above; or (c) potential claims against parties other than the Resident

 Plaintiffs.

    6. The parties further agree that this Joint Stipulation is for this case only, is not

 binding on the United States as against individuals or entities other than the

 Resident Plaintiffs, and is not for use in any other case, claim, proceeding, or

 matter involving the United States, its agencies, or employees. The parties agree

 that they are entering into this Joint Stipulation in lieu and instead of fully

 litigating the issues addressed above. If aspects of this Joint Stipulation are

 presented to the Court for possible incorporation into an Order or Judgment in this

 case, the United States reserves the right to request from the Court appropriate

 language limiting the effect of the matters stipulated to herein to this case.




                                            4
Case 1:22-cv-00397-LEK-KJM Document 200 Filed 11/27/23 Page 5 of 5 PageID.6624



 DATED: November 27, 2023

 /s/ Kristina Baehr                                      /s/ Eric Rey
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                                                         Civil Div., U.S. Dep’t of Justice
                                                         Attorney for Defendant
                                                         UNITED STATES OF AMERICA




 APPROVED AND SO ORDERED:

       Dated: Honolulu, Hawai‘i, November 27, 2023.




                           Kenneth Ji.. M ansfield
                           U ni.ted State::; Magistrate Judge




 Feindt v. United States, Civ. No. 22-00397 LEK-KJM, “Second Joint Stipulation
 as to Plaintiffs’ Negligence and Nuisance Claims; Order”




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